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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS

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                                                    )
 MIRABI, INC. d/b/a DOWN THE HATCH;                 )   Case No. 1:25-cv-01770
 M.B.R.P. REST. INC. d/b/a THE STUMBLE              )
 INN; THIRD AVE. REST., INC. d/b/a JAKE’S           )   Judge: Hon. Franklin U. Valderrama
                                                    )
 DILEMMA; 442 AMSTERDAM REST., CORP.                )
 d/b/a THE GIN MILL; MACDOUGAL REST.                )
 INC. d/b/a OFF THE WAGON; 149 SECOND               )
 AVE. REST. INC. d/b/a DOWNTOWN                     )
 SOCIAL; 134 WEST 3RD ST REST INC. d/b/a            )
 3                                                  )
                                                    )
 SHEETS; 168 ORCHARD ST PARTNERS, INC.              )
 d/b/a HAIR OF THE DOG; 587 KING STREET             )
 RESTAURANT LLC d/b/a UPTOWN SOCIAL;                )
 23 ANN STREET RESTAURANT LLC d/b/a                 )
 SHAREHOUSE; AND 414 WEST COLEMAN                   )
 RESTAURANT LLC d/b/a BODEGA, on behalf             )
 of themselves and all others similarly situated,   )
                                                    )
                      Plaintiffs,                   )
                                                    )
     v.                                             )
                                                    )
 LAMB WESTON HOLDINGS, INC.; LAMB                   )
                                                    )
 WESTON, INC.; LAMB WESTON BSW, LLC;                )
 LAMB WESTON/MIDWEST, INC.; LAMB                    )
 WESTON SALES, INC.; MCCAIN FOODS                   )
                                                    )
 LIMITED; MCCAIN FOODS USA, INC.; J.R.              )
 SIMPLOT CO.; CAVENDISH FARMS LTD; and              )
 CAVENDISH FARMS, INC.,                             )
                                                    )
                      Defendants.                   )


      PLAINTIFFS’ UNOPPOSED MOTION TO REASSIGN CASE AS RELATED

       Plaintiffs Mirabi, Inc. d/b/a Down the Hatch; M.B.R.P. Rest. Inc. d/b/a The Stumble Inn;

Third Ave. Rest., Inc. d/b/a Jake’s Dilemma; 442 Amsterdam Rest., Corp. d/b/a The Gin Mill;

Macdougal Rest. Inc. d/b/a Off the Wagon; 149 Second Ave. Rest. Inc. d/b/a Downtown Social;

134 West 3rd St Rest Inc. d/b/a 3 Sheets; 168 Orchard St Partners, Inc. d/b/a Hair of the Dog;



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587 King Street Restaurant LLC d/b/a Uptown Social; 23 Ann Street Restaurant LLC d/b/a

Sharehouse; and 414 West Coleman Restaurant LLC d/b/a Bodega (collectively “Plaintiffs”)

hereby respectfully move to reassign this case to the docket of the Honorable Jeffrey Cummings

as part of the Redner’s Markets Docket, Case No. 1:24-cv-11801, under L.R. 40.4. In support of

their motion, Plaintiffs state as follows:

          1.      Redner’s Markets, Inc. (“Redner’s Markets”) filed its Complaint (ECF No. 1)1 on

November 15, 2024, alleging, on behalf of itself and a proposed nationwide class of direct

purchasers, violations of Sections 1 and 3 of the Sherman Act (15 U.S.C. §§ 1, 3) by certain

Defendants related to the prices of frozen potato products.

          2.      Plaintiffs filed their complaint on February 20, 2025 (ECF No. 1 for the Mirabi,

Inc. Docket). The complaint is attached as Exhibit A. As with the other Actions already

consolidated into the Redner’s Markets Docket, the present action is a class action alleging a

pattern of anticompetitive conduct which led to the increase of the price of frozen potatoes

during the Class Period. Plaintiffs’ complaint is highly similar to other complaints already

consolidated in the Redner’s Markets Docket.

          3.      This motion meets the requirements under L.R. 40.4(b) for reassignment as

related because (1) this case, like the other cases in the Redner’s Market Docket, are all pending

in the United States District Court for the Northern District of Illinois; (2) reassigning this case to

the docket of the Honorable Jeffrey Cummings is likely to result in a substantial savings of time

and effort; (3) this Action, like all actions already in the Redner’s Market Docket, grow out of the

same transaction, namely the alleged anticompetitive conduct; and (4) the classes alleged are

virtually identical to the classes alleged for other commercial and institutional indirect purchaser

plaintiff class actions.
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    Unless otherwise noted, all ECF references are to the Redner’s Markets Docket.


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       4.        Plaintiffs in several of the Related Actions have already filed unopposed motions

in this Court pursuant to Local Rule 40.4 seeking to reassign their actions to this Court as related

to this first-filed case. See, e.g., ECF Nos. 9, 11, 43, 49, 51, 57, 108, 109, 115, 116, 117, 118,

122, 126, 132.

       5.        Plaintiffs have not, at this time, served any Defendant.

       6.        On February 13, 2025, this Court entered an order (ECF No. 60) generally

providing for the consolidation of then-outstanding related cases and service of outstanding

actions. Plaintiffs move for reassignment as related under the findings of that order.

       7.        Plaintiff has reached out to Defendants prior to filing, and Defendants have

indicated that they do not oppose the reassignment of this Action to the Court.

Dated: May 9, 2025                             Respectfully submitted,

                                               /s/ Carl V. Malmstrom
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